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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION




    UNITED STATES OF AMERICA,                     )   CASE NO.: 1:15-CV-01046
                                                  )
                     Plaintiff,                   )
                                                  )   JUDGE SOLOMON OLIVER, JR.
            vs.                                   )
                                                  )   NOTICE SUBMITTING MONITOR’S
    CITY OF CLEVELAND                             )   MEMORANDUM REGARDING
                                                  )   ARBITRATION DECISION
                     Defendant.                   )
                                                  )
                                                  )


           The Monitor respectfully notifies the Court of the attached Memorandum to the City of

Cleveland (“the City”) regarding a recent arbitration decision. The Consent Decree requires the

City to “ensure that discipline for sustained allegations of misconduct comports with due process,

and is consistently applied.”1 It further requires that the City develop a disciplinary matrix that,

among other things, “establishes a presumptive range of discipline for each type of rule violation.”2

The City has apparently made progress with the adjudication of known misconduct. The

sustainability of that progress depends in large measure on arbitration decisions. The attached

Memorandum pertains to a specific arbitration decision shared with the Monitoring Team on June

24, 2022. (Exhibit A) As detailed in the Memorandum, the application of a beyond reasonable

doubt standard in the recent arbitration decision – solely reserved for criminal adjudications –

poses a risk to the City’s ability to comply with its requirement under the Consent Decree to hold

officers accountable for misconduct.


1
    Dkt. 413-1, Ex. A ¶245; Dkt. 416.
2
    Id. at 246 (a).
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                                       Respectfully submitted,

                                       /s/ Hassan Aden
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2022, I served the foregoing document entitled

Notice Submitting Monitor’s Memorandum Regarding Arbitration Decision via the court’s

ECF system to all counsel of record.



                                                  /s/ Ayesha Bell Hardaway
                                                  AYESHA BELL HARDAWAY
